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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, NO. CR20-032 JCC
Platte, ORDER CONTINUING DETENTION
SUPERSEDING INDICTMENT
Ne
KALEB J. COLE,
Defendant.

 

 

A Superseding Indictment having been returned against the above-named defendant,

now therefore

IT IS ORDERED that detention be continued as previously set.
DATED this Sth day of August, 2020.

hood Meer

UNITED STATES MAGISTRATE JUDGE

ORDER CONTINUING DETENTION — | UNITED STATES ATTORNEY
SUPERSEDING INDICTMENT 700 Stewart Street, Suite 5220

Seattle, Washington 98101
(206) 553-7970
